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FOR THE NORTHERN DIS

FORT WORTH DIVISION ORIGINAL

UNITED STATES OF AMERICA

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vs CLERK

KALEB LAYNE NIX py 4:24-CR-129-P(01)

Deputy

ORDER SETTING ADDITIONAL TERMS OF SUPERVISED RELEASE

The required Mandatory Conditions listed at 18 U.S.C. § 3583(d) and Section 5D1.3(a) of
the Guidelines Manual, including:

1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit

to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as determined by the court.

ClThe above drug testing condition is suspended, based on the court's
determination that you pose a low risk of future substance abuse. (check if
applicable)

4, You must cooperate in the collection of DNA as directed by the probation officer.
(check if applicable)

5. EJYou must comply with the requirements of the Sex Offender Registration and
Notification Act 34 U.S.C. § 20901, et seq.) as directed by the probation officer,
the Bureau of Prisons, or any state sex offender registration agency in the location
where you reside, work, are a student, or were convicted of a qualifying offense.
(check if applicable)

6. ClYou must participate in an approved program for domestic violence. (check if
applicable)

7. ClYou must make restitution in accordance with 18 U.S.C, §§ 2248, 2259, 2264,
2327, 3663, 3663A, and 3664. (check if applicable)

8. You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.

9, If this judgment imposes a fine, you must pay in accordance with the Schedule of

Payments sheet of this judgment.
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AND

The discretionary Standard Conditions set forth by Miscellaneous Order No. 64, as well as
the below-listed "Discretionary," "Special," and " Additional” Conditions listed at Sections
$D1.3(b), (d), and (€) of the Guidelines Manual—which, based on the facts and
circumstances of the above-referenced case, are (A) reasonably related to the factors set
forth in 18 U.S.C. §§ 3553(a)(), (a)(2)(B), (2)(C), and (a)(2)(D); (B) involve no greater
deprivation of liberty than is reasonably necessary for the purposes set forth in Section
3553(aX2\(B), (a\2XC), and (a)(2)(D); and (C) consistent with any pertinent policy
statements issued by the Sentencing Commission pursuant to 28 U.S.C. § 994(a)
(“Notice”):

Recommendation

1. The defendant shall have no contact with minors under the age of 18, including by
correspondence, telephone, internet, electronic communication, or communication
through third parties. The defendant shall not have access to or loiter near school
grounds, parks, arcades, playgrounds, amusement parks or other places where
children may frequently congregate, except as may be allowed upon advance
approval by the probation officer. (Macro 24CFW)

2. The defendant shall have no contact with the victim(s), including correspondence,
telephone contact, or communication through third parties except under
circumstances approved in advance by the probation officer and not enter onto the
premises, travel past, or loiter near the victims’ residences, places of employment,
or other places frequented by the victims. (Macro 24EFW)

3. The defendant shall participate and comply with the requirements of the Computer
and Internet Monitoring Program and shall pay the costs of the program. The
defendant shall consent to the probation officer's conducting ongoing monitoring
of his/her computer/computers. The monitoring may include the installation of
hardware and/or software systems that allow evaluation of computer use. The
defendant shall not remove, tamper with, reverse engineer, or circumvent the
software in any way. The defendant shall only use authorized computer systems
that are compatible with the software and/or hardware used by the Computer and
Internet Monitoring Program. The defendant shall permit the probation officer to
conduct a preliminary computer search prior to the installation of software. At the
discretion of the probation officer, the monitoring software may be disabled or
removed at any time during the term of supervision, (Macro 25)

4, The defendant shall submit to periodic, unannounced examinations of his/her
computer/computers, storage media, and/or other electronic or Internet-capable
devices, performed by the probation officer at reasonable times and in a reasonable
manner based on reasonable suspicion of contraband evidence of a violation of
supervision. This may ‘nelude the retrieval and copying of any prohibited data
and/or the removal of such system for the purpose of conducting a more thorough
inspection. The defendant shall provide written authorization for release of
information from the defendant's Internet service provider. (Macro 25A}
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10.

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12,

The defendant shall not use any software program or device designed to hide, alter,
or delete records and/or logs of the defendant's computer use, Internet activities, or
files stored on the defendant's computer. (Macro 25C)

The defendant shall not use any computer other than the one the defendant is
authorized to use without prior approval from the probation officer. (Macro 25B)

The defendant shall not possess, have access to, or utilize a computer or Internet
connection device, including, but not limited to Xbox, PlayStation, Nintendo, or
similar device, without permission of the probation officer. This condition requires
preapproval for categories of computer or Internet access or use; it does not require
separate pre-use approval every time the defendant accesses or uses a computer or
the Internet, (Macro 24SRC)

If, upon commencement of supervised release, any part of the $5,000 assessment
pursuant to 18 U.S.C, § 3014, ordered by this judgment remains unpaid, the
defendant shall make payments on such unpaid amount at the rate of at least $100
per month, the first such payment to be made no later than 60 days after the
defendant's release from confinement and another payment to be made on the same
day of each month thereafter until the assessment is paid in full. (Macro 16VTA)

The defendant shall participate in outpatient mental health treatment services as
directed by the probation officer until successfully discharged, which services may
include prescribed medications by a licensed physician, with the defendant
contributing to the costs of services rendered (copayment) at a rate of at least $25
per month, (Macro 24AFW)

The defendant shall neither possess nor have under his/her control any
pornographic matter or any matter that sexually depicts minors under the age of 18
including, but not limited to, matter obtained through access to any computer and
any matter linked to computer access or use. (Macro 24DFW)

The defendant shall participate in sex-offender treatment services as directed by the
probation officer until successfully discharged, which services may include psycho-
physiological testing to monitor the defendant's compliance, treatment progress,
and risk to the community, contributing to the costs of services rendered
(copayment) at the rate of at least $25 per month. (Macro 24BFW)

The defendant shall register as a sex offender with state and local law enforcement
as directed by the probation officer in each jurisdiction where the defendant resides,
is employed, and is a student, providing all information required in accordance with
state registration guidelines, with initial registration being completed within three
business days after release from confinement. The defendant shall provide written
verification of registration to the probation officer within three business days
following registration and renew registration as required by his probation officer.
The defendant shall, no later than three business days after each change of name,
residence, employment, or student status, appear in person in at least one
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jurisdiction and inform that jurisdiction of all changes in the information required
in the sex-offender registry. (Macro 24FFW)

Kaleb Layne Nix, Defendant

Date signed £21 2/ 24

